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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
In re: ) Chapter 11

)
BOY SCOUTS OF AMERICA AND ) Case No. 20-10343 (LSS)
DELAWARE BSA, LLC? )

} Gointly Administered)

Debtors. )

) Hearing Date: TBD

) Objection Deadline: November 14, 2023

)

NOTICE OF MOTION

PLEASE TAKE NOTICE that, on October 31, 2023, Babin Law, LLC on behalf of
certain of its clients, Claimants SST-902574 and SST-907529, filed the Motion to Change Election
to Opt Into Expedited Payment/Convenience Class (the “Motion”).

PLEASE TAKE FORTHER NOTICE that, a Hearing on the Motion will be held on a
date to be determined before the Honorable Laurie Selber Silverstein, United States Bankruptcy
Judge, at the United States Bankruptcy Court for the District of Delaware, 824 North Market Street,
Wilmington, Delaware, 19801.

PLEASE TAKE FURTHER NOTICE that objections, if any, to the entry of an order
approving the Motion must be filed by November 14, 2023 at 4:00pm (ET) (the “Objection

Deadline} with the United States Bankruptcy Court for the District of Delaware, 3rd Floor, 824

3 The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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North Market Street, Wilmington, Delaware, 19801. At the same time, a copy of any objection
must be served upon the undersigned counsel so as to be received on or before the Objection
Deadline.

PLEASE TAKE FUTHER NOTICE that, if you fail to respond in accordance with this
notice, the Court may grant the relief request and enter a final order without further notice.

Dated: October 31, 2023

Respectfully submitted,

/s/ David T. Crumplar
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